     Case 15-40828-elm13 Doc 109 Filed 09/06/18
 Fill in this information to identify the case:
                                                                                         Entered 09/06/18 16:55:52        Page 1 of 6
B 10 (Supplement 2) (12/11)            (post publication draft)
 Debtor 1              Richard Eugne Van Cleave
                       __________________________________________________________________

 Debtor 2               Lujene Van Cleave
                        ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                                    (State)
 Case number            15-40828-rfn13
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                 10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  US Bank Trust N.A., as trustee of Bungalow Series F Trust                      Court claim no. (if known):
 Name of creditor:                ______________________________________                                         21
                                                                                                                 _________________
                                                                                                5 ____
                                                                                              ____  5 ____
                                                                                                        6 ____
                                                                                                             6
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                3718 Hollow Creed Road
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Arlington, TX 76001
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                     ____/_____/______
                                                                                        MM / DD / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                          (a)     9,784.39
                                                                                                                                   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                 +   (b)     (723.04)
                                                                                                                                   $ __________
        c. Total. Add lines a and b.                                                                                         (c)     9,061.35
                                                                                                                                   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                    03    01 2018
                                                                                       ____/_____/______
        due on:                                                                         MM / DD   / YYYY


Form 4100R                                                    Response to Notice of Final Cure Payment                                  page 1
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Debtor 1        Richard Eugne Van Cleave
                _______________________________________________________                                              15-40828-rfn13
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Kristin A. Zilberstein
                   __________________________________________________
                   Signature
                                                                                              Date    09 06 2018
                                                                                                      ____/_____/________




 Print             Kristin A. Zilberstein, Esq.
                   _________________________________________________________                  Title   Authorized Agent for Creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           The Law Offices of Michelle Ghidotti
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana, CA 92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949 _____–
                   (______) 427 _________
                                2010                                                                kzilberstein@ghidottilaw.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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1    Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Kristin A. Zilberstein (SBN 200041)
2    Jennifer R. Bergh, Esq. (SBN 305219)
3    LAW OFFICES OF MICHELLE GHIDOTTI
     1920 Old Tustin Ave.
4    Santa Ana, CA 92705
     Ph: (949) 427-2010
5    Fax: (949) 427-2732
6    mghidotti@ghidottilaw.com

7    Authorized Agent for Creditor
     U.S. Bank Trust National Association, et al
8
9
                               UNITED STATES BANKRUPTCY COURT
10
                                   NORTHERN DISTRICT OF TEXAS
11
12   In Re:                                               )   CASE NO.: 15-40828-rfn13
13                                                        )
     RICHARD EUGNE VAN CLEAVE and                         )   CHAPTER 13
14   LUJENE VAN CLEAVE,                                   )
                                                          )   CERTIFICATE OF SERVICE
15
              Debtors.                                    )
16                                                        )
                                                          )
17                                                        )
                                                          )
18
                                                          )
19                                                        )
                                                          )
20
21
                                      CERTIFICATE OF SERVICE
22
23            I am employed in the County of Orange, State of California. I am over the age of
24
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
25
     Santa Ana, CA 92705.
26
              I am readily familiar with the business’s practice for collection and processing of
27
28   correspondence for mailing with the United States Postal Service; such correspondence would




                                                      1
                                       CERTIFICATE OF SERVICE
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1    be deposited with the United States Postal Service the same day of deposit in the ordinary
2    course of business.
3
     On September 6, 2018 I served the following documents described as:
4
5
                   RESPONSE TO NOTICE OF FINAL CURE PAYMENT

6    on the interested parties in this action by placing a true and correct copy thereof in a sealed

7    envelope addressed as follows:
8
     (Via United States Mail)
9    Debtor                                              Debtors’ Counsel
10   Richard Eugne Van Cleave                            James M. Morrison
     3718 Hollow Creek Rd.                               Allmand Law Firm, PLLC
11   Arlington, TX 76001                                 860 Airport Fwy., Suite 401
12                                                       Hurst, TX 76054
     Joint Debtor
13   Lujene Van Cleave                                   Trustee
14   3718 Hollow Creek Rd.                               Pam Bassel
     Arlington, TX 76001                                 7001 Blvd 26
15                                                       Suite 150
16   Debtors’ Counsel                                    North Richland Hills, TX 76180
     Weldon Reed Allmand
17
     Allmand Law Firm, PLLC                              U.S. Trustee
18   860 Airport Freeway, Suite 401                      United States Trustee
     Hurst, TX 76054                                     1100 Commerce Street
19
                                                         Room 976
20                                                       Dallas, TX 75242
21
22   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
23   following ordinary business practices.
24
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
25   Eastern District of California
26   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
27   America that the foregoing is true and correct.

28          Executed on September 6, 2018 at Santa Ana, California

     /s / Steven P. Swartzell
     Steven P. Swartzell
                                                     2
                                      CERTIFICATE OF SERVICE
